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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:04CR262
                              )
          v.                  )
                              )
BRANDY K. BRENTON,            )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

filed pursuant to Rule 60(b) of the Federal Rules of Civil

Procedure (Filing No. 172), seeking an order setting aside or

otherwise vacating this Court’s memorandum opinion and order and

judgment (Filing Nos. 169 and 170) denying her motion filed

pursuant to 28 U.S.C. § 2255.        Federal Rule of Civil Procedure

60(c) provides:

                  A motion under Rule 60(b) must be
                  made within a reasonable time --
                  and for (1), (2) and (3), no more
                  than one year after the entry of
                  judgment or order or the date of
                  the proceeding.

This motion could only be premised upon Subsections (1), (2) or

(3) and as to those claims, is timely filed.

           The Court has reviewed the defendant’s motion and has

also reviewed its memorandum opinion and order and judgment

(Filing Nos. 169 and 170) and notes that defendant did not file

an appeal from the order denying her § 2255 motion.               The Court

finds that defendant’s motion should be denied.               Accordingly,
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           IT IS ORDERED that defendant’s motion seeking an order

setting aside or otherwise vacating this Court’s memorandum

opinion and order and judgment is denied.

           DATED this 8th day of April, 2010.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court




                                     -2-
